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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



IN RE: DPP BEEF ANTITRUST                              Case No. 0:20-cv-1319 (JRT/HB)
LITIGATION
                                                       NOTICE OF WITHDRAWAL
                                                       AS ATTORNEY




       PLEASE TAKE NOTICE that pursuant to Rule 83.7(a) of the Local Rules of the United

States District Court for the District of Minnesota, Erica C. Lai hereby withdraws as attorney of

record for Plaintiffs Howard B. Samuels, solely as Chapter 7 trustee for the estates of Central

Grocers, Inc., Strack and Van Til Super Market, Inc., and SVT, LLC, and the putative Direct

Purchaser class in the above-captioned matter. Plaintiffs will continue to be represented by other

attorneys who have entered appearances in this matter, and will not be prejudiced in any way by

this withdrawal.



Dated: May 25, 2021                         /s/ Erica C. Lai
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